                     Case 19-21189-jrs                             Doc 6                 Filed 06/19/19 Entered 06/19/19 16:59:36                                                   Desc Main
Dothins
            Fill in this information to identify your case:                               Document     Page 1 of 8
Dothins
            Debtor 1                 Dothins
                                                       Nadine      Dothins   Dothins
                                                                                          Marie             Dothins   Dothins
                                                                                                                                   Lillo    Dothins




                                                  First Name                           Middle Name                              Last Name   Dothins




                                     Dothins                       Dothins   Dothins                        Dothins   Dothins




            Debtor 2                 Dothins                       Dothins   Dothins                        Dothins   Dothins               Dothins
                                                                                                                                                                 Check if this is an amended plan, and list
            Spouse, if filing                                                                                                                                      below the sections of the plan that have
                                                  First Name                           Middle Name                              Last Name
Dothins
                                                                                                                                            Dothins




                                     Dothins                       Dothins   Dothins                        Dothins   Dothins
                                                                                                                                                                   been changed. Amendments to sections not
                                                                                                                                                                   listed below will be ineffective even if set out
                                                                                                                                                                   later in this amended plan.
                                                                                                                                                      Dothins




                                                                                                                                                      Dothins




          United States Bankruptcy Court for the Northern District of Georgia
Dothins




            Case number
Dothins
               (If known)            Dothins                                                      Dothins                                             Dothins




Dothins
                                                                                                                                                      Dothins




Chapter 13 Plan
Dothins




NOTE:                                The United States Bankruptcy Court for the Northern District of Georgia adopted this form plan for use in
                                     Chapter 13 cases in the District pursuant to Federal Rule of Bankruptcy Procedure 3015.1. See Order
                                     Requiring Local Form for Chapter 13 Plans and Establishing Related Procedures, General Order No. 21-2017,
                                     available in the Clerk’s Office and on the Bankruptcy Court’s website, ganb.uscourts.gov. As used in this plan,
                                     “Chapter 13 General Order” means General Order No. 21-2017 as it may from time to time be amended or
                                     superseded.


Dothins
           Part 1:      Dothins
                                  Notices

To Debtor(s):                        This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not indicate that the
                                     option is appropriate in your circumstances. Plans that do not comply with the United States Bankruptcy Code, local rules and judicial
                                     rulings may not be confirmable.
                                     In the following notice to creditors, you must check each box that applies.

To Creditors:                        Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                                     Check if applicable.

                                      The plan provides for the payment of a domestic support obligation (as defined in 11 U.S.C. § 101(14A)), set out in § 4.4.
                                     You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have an
                                     attorney, you may wish to consult one.
                                     If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                                     confirmation at least 7 days before the date set for the hearing on confirmation, unless the Bankruptcy Court orders otherwise. The
                                     Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See Bankruptcy Rule 3015.
                                     To receive payments under this plan, you must have an allowed claim. If you file a timely proof of claim, your claim is deemed allowed
                                     unless a party in interest objects. See 11 U.S.C. § 502(a).
                                     The amounts listed for claims in this plan are estimates by the debtor(s). An allowed proof of claim will be controlling,
                                     unless the Bankruptcy Court orders otherwise.
                                     The following matters may be of particular importance. Debtor(s) must check one box on each line to state whether or not the
                                     plan includes each of the following items. If an item is checked as “Not included,” if both boxes are checked, or if no box is
                                     checked, the provision will be ineffective even if set out later in the plan.

                                               § 1.1     A limit on the amount of a secured claim, that may result in a partial  Included                                               Not Included
                                     Dothins
                                                         payment or no payment at all to the secured creditor, set out in § 3.2                                 Dothins                 Dothins




                                                         Dothins




                                               § 1.2     Avoidance of a judicial lien or nonpossessory, nonpurchase-money  Included                                                     Not Included
                                     Dothins
                                                         security interest, set out in § 3.4                                                                    Dothins                 Dothins




                                                         Dothins




                                               § 1.3     Nonstandard provisions, set out in Part 8                                                               Included               Not Included
                                     Dothins             Dothins                                                                                                Dothins                 Dothins




Dothins
           Part 2:      Dothins
                                  Plan Payments and Length of Plan; Disbursement of Funds by Trustee to Holders of Allowed Claims

§ 2.1           Regular Payments to the trustee; applicable commitment period.
                 The applicable commitment period for the debtor(s) as set forth in 11 U.S.C. § 1325(b)(4) is:
                 Check one:      36 months  60 months


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Debtor
Dothins
                               Nadine Marie Lillo
                               Dothins                                                                                                Dothins
                                                                                                                                                Case number
          Debtor(s) will make regular payments (“Regular Payments”) to the trustee as follows:

          The debtor(s) will pay $350.00 per month for the applicable commitment period. If the applicable commitment period is 36 months, additional
          Regular Payments will be made to the extent necessary to make the payments to creditors specified in this plan, not to exceed 60 months unless
          the Bankruptcy Court orders otherwise. If all allowed claims treated in § 5.1 of this plan are paid in full prior to the expiration of the applicable
          commitment period, no further Regular Payments will be made.
          Check if applicable.
           The amount of the Regular Payment will change as follows (If this box is not checked, the rest of § 2.1 need not be completed or reproduced.
          Insert additional lines as needed for more changes.):

                     Beginning on (insert date):                      The Regular Payment amount will                       For the following reason (insert reason for change):
                     Dothins
                                                                      change to (insert amount):                            Dothins




                                                                      Dothins
                     Dothins                                                                                                Dothins




                                                                                per
                                                                      Dothins




§ 2.2     Regular Payments; method of payment.
          Regular Payments to the trustee will be made from future income in the following manner:
          Check all that apply.
           Debtor(s) will make payments pursuant to a payroll deduction order. If a deduction does not occur, the debtor(s) will pay to the trustee the
            amount that should have been deducted.
           Debtor(s) will make payments directly to the trustee.
           Other (specify method of payment):
          Dothins                                                                     Dothins




§ 2.3     Income tax refunds.
          Check one.
           Debtor(s) will retain any income tax refunds received during the pendency of the case.
           Debtor(s) will (1) supply the trustee with a copy of each income tax return filed during the pendency of the case within 30 days of filing the return
            and (2) turn over to the trustee, within 30 days of the receipt of any income tax refund during the applicable commitment period for tax years
            , the amount by which the total of all of the income tax refunds received for each year exceeds $2,000 (“Tax Refunds”), unless the Bankruptcy
            Court orders otherwise. If debtor’s spouse is not a debtor in this case, “tax refunds received” means those attributable to the debtor.
           Debtor(s) will treat tax refunds (“Tax Refunds”) as follows:
                          _____________
§ 2.4     Additional Payments.
          Check one.
           None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.
           Debtor(s) will make additional payment(s) (“Additional Payments”) to the trustee from other sources as specified below. Describe the source,
            estimated amount, and date of each anticipated payment.

                Source of Payment                                                               Estimated Amount ($)
                                                                                                Dothins
                                                                                                                                                 Date of Payment
                                                                                                                                                 Dothins




                Dothins




          ____________________________________________________________________________________________________________________
          ____________________________________________________________________________________________________________________
§ 2.5 [Intentionally omitted.]


§ 2.6     Disbursement of funds by trustee to holders of allowed claims.
          (a) Disbursements before confirmation of plan. The trustee will make preconfirmation adequate protection payments to holders of allowed
          claims as set forth in §§ 3.2 and 3.3.
          (b) Disbursements after confirmation of plan. Upon confirmation, after payment of the trustee's statutory fee, the trustee will disburse Regular
          Payments, Additional Payments, and Tax Refunds that are available for disbursement to make payments to holders of allowed claims as follows:
                           (1) First disbursement after confirmation of Regular Payments. In the first disbursement after confirmation, the trustee will disburse all
                           available funds from Regular Payments in the following order:
                                         (A) To pay any unpaid preconfirmation adequate protection payments required by 11 U.S.C. § 1326(a)(1)(C) as set forth in § 3.2, § 3.3, and
                                         orders of the Bankruptcy Court;
                                         (B) To pay fees, expenses, and costs of the attorney for the debtor(s) as set forth in § 4.3;
                                         (C) To make payments pro rata based on the monthly payment amount: on secured claims as set forth in §§ 3.1, 3.2, 3.3, and 3.4; on
                                         domestic support obligations as set forth in § 4.4; on the arrearage claims on nonpriority unsecured claims as set forth in § 5.2; and on
                                         executory contracts and unexpired leases as set forth in § 6.1; and
                                         (D) To pay claims in the order set forth in § 2.6(b)(3).

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Debtor
Dothins
                      Nadine Marie Lillo
                      Dothins                                                                                   Dothins
                                                                                                                          Case number
                (2) Second and subsequent disbursements after confirmation of Regular Payments. In the second disbursement after confirmation, and
                each month thereafter, the trustee will disburse all available funds from Regular Payments in the order below. All available Regular Payments
                will be distributed to the claims in each paragraph until such claims are paid in full.
                                  (A) To make concurrent monthly payments, including any amount past due under this plan: on secured claims as set forth in §§ 3.1, 3.2,
                                  3.3, and 3.4; on fees, expenses, and costs of the attorney for the debtor(s) as set forth in § 4.3; on domestic support obligations as set forth
                                  in § 4.4; on the arrearage claims on both nonpriority unsecured claims as set forth in § 5.2 and executory contracts and unexpired leases as
                                  set forth in § 6.1;
                                  (B) To make pro rata payments on administrative expenses allowed under 11 U.S.C. § 503(b) other than the trustee's fee and the debtor's
                                  attorney's fees, expenses, and costs; and
                                  (C) To pay claims in the order set forth in § 2.6(b)(3).
                (3) Disbursement of Additional Payments and Tax Refunds. The trustee will disburse the Additional Payments and Tax Refunds in the
                following order:
                                  (A) To pay fees, expenses, and costs of the attorney for the debtor(s) as set forth in § 4.3;
                                  (B) To make pro rata payments on administrative expenses allowed under 11 U.S.C. § 503(b) other than the trustee's fee and the debtor's
                                  attorney's fees, expenses, and costs;
                                  (C) To make payments pro rata based on the monthly payment amount: on secured claims as set forth in §§ 3.1, 3.2, 3.3, and 3.4; on
                                  domestic support obligations as set forth in § 4.4; on the arrearage claims on both nonpriority unsecured claims as set forth in § 5.2 and
                                  executory contracts and unexpired leases as set forth in § 6.1;
                                  (D) To pay other Allowed Secured Claims as set forth in § 3.6;
                                  (E) To pay allowed claims entitled to priority under 11 U.S.C. § 507, other than administrative expenses and domestic support obligations;
                                  and
                                  (F) To pay nonpriority unsecured claims not otherwise classified as set forth in § 5.1 (“Unclassified Claims”) and to pay nonpriority
                                  unsecured claims separately classified as set forth in § 5.3 (“Classified Claims”). The trustee will estimate the total amounts to be disbursed
                                  during the plan term (1) to pay Unclassified Claims and (2) to pay Classified Claims. Funds available for disbursement on these claims will
                                  be allocated pro rata to each class, and the funds available for disbursement for each class will be paid pro rata to the creditors in the class.
                (4) Unless the debtor(s) timely advise(s) the trustee otherwise in writing, the trustee may treat and disburse any payments received from the
                debtor(s) as Regular Payments.

Dothins
          Part 3:               Dothins
                                          Treatment of Secured Claims

§ 3.1        Maintenance of payments and cure of default, if any.
             Check one.
              None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.
              Beginning with the first payment that is due after the date of the order for relief under Chapter 13, the debtor(s) will maintain the current
               contractual installment payments on the secured claims listed below, with any changes required by the applicable contract and noticed in
               conformity with any applicable rules. These payments will be disbursed directly by the debtor(s). Any existing arrearage on a listed claim will
               be paid in full through disbursements by the trustee, with interest, if any, at the rate stated below.
                If relief from the automatic stay is ordered as to any item of collateral listed in this paragraph, then, unless the Bankruptcy Court orders
                otherwise, all payments under this paragraph as to that collateral will cease, and all secured claims based on that collateral will no longer be
                treated by the plan.
                Name of creditor
                Dothins
                                                                      Collateral
                                                                      Dothins
                                                                                                Estimated amount of             Interest rate on arrearage   Monthly plan
                                                                                                arrearage (if any)
                                                                                                Dothins
                                                                                                                                (if applicable)
                                                                                                                                Dothins
                                                                                                                                                             payment on
                                                                                                                                                             arrearage
                                                                                                                                                             Dothins




                SunTrust Bank
                Dothins
                                                                      Lincoln MV
                                                                      Dothins
                                                                                                $0.00
                                                                                                Dothins
                                                                                                                                %
                                                                                                                                Dothins
                                                                                                                                                             $500.00
                                                                                                                                                             Dothins




§ 3.2        Request for valuation of security, payment of fully secured claims, and modification of undersecured claims.
              None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
                The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.
              The debtor(s) request(s) that the Bankruptcy Court determine the value of the secured claims listed below.
                For each non-governmental secured claim listed below, the debtor(s) state(s) that the value of the secured claim should be as set out in the
                column headed Amount of secured claim. For secured claims of governmental units, unless the Bankruptcy Court orders otherwise, the value
                of a secured claim listed in a proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed below. For
                each creditor checked below, debtor(s) will file a motion pursuant to Bankruptcy Rule 3012 and the Chapter 13 General Order to request
                determination of the amount of the secured claim.
                For each listed claim below, the value of the secured claim will be paid in full with interest at the rate stated below. The portion of any allowed
                claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5 of this plan. If the amount of a creditor's
                secured claim is listed below as having no value, the creditor's allowed claim will be treated in its entirety as an unsecured claim under Part 5 of
                this plan.
                The trustee will make monthly preconfirmation adequate protection payments that 11 U.S.C. § 1326(a)(1)(C) requires to the creditor in the
                amount set out in the column headed Monthly preconfirmation adequate protection payment.

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Debtor
Dothins
                                 Nadine Marie Lillo
                                 Dothins                                                                                                                                 Dothins
                                                                                                                                                                                   Case number
                      The holder of any claim listed below as having value in the column headed Amount of secured claim will retain the lien on the property interest
                      of the debtor(s) or the estate(s) until the earlier of:
                      (a) payment of the underlying debt determined under nonbankruptcy law, or
                      (b) payment of the amount of the secured claim, with interest at the rate set forth below, and discharge of the underlying debt under 11 U.S.C.
                      § 1328, at which time the lien will terminate and be released by the creditor.
          Check                                  Name of creditor
                                                 Dothins
                                                                         Estimated                            Collateral                Value of     Amount of Amount of Interest rate       Dothins
                                                                                                                                                                                                                                                         Monthly     Monthly post-
          only if                                                        amount of                            and date                  collateral
                                                                                                                                        Dothins
                                                                                                                                                     claims     secured                                                                                  pre-        confirmation
          motion                                                         total claim
                                                                         Dothins
                                                                                                              of                                     senior to  claim              Dothins
                                                                                                                                                                                                                                                         confirmatio payment    Dothins




          to be                                                                                               purchase
                                                                                                              Dothins
                                                                                                                                                     creditor's                                                                                          n adequate
          filed
          Dothins
                                                                                                                                                     claim
                                                                                                                                                     Dothins
                                                                                                                                                                                                                                                         protection
                                                                                                                                                                                                                                                         payment
                                                                                                                                                                                                                                                         Monthly
                                                                                                                                                                                                                                                         Dothins




          Dothins                                Dothins                 Dothins                              Dothins                   Dothins      Dothins                       Dothins   Dothins                                                     Dothins                Dothins




§ 3.3               Secured claims excluded from 11 U.S.C. § 506.
                    Check one.
                     None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
                     The claims listed below were either:
                      (1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle acquired for the
                      personal use of the debtor(s), or
                      (2) incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value.
                      These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed by the trustee.
                      The trustee will make monthly preconfirmation adequate protection payments that 11 U.S.C. § 1326(a)(1)(C) requires to the creditor in the
                      amount set out in the column headed Monthly preconfirmation adequate protection payment.
                      The holder of any claim listed below will retain the lien on the property interest of the debtor(s) or the estate(s) until the earlier of:
                      (a) payment of the underlying debt determined under nonbankruptcy law, or
                      (b) payment of the amount of the secured claim, with interest at the rate set forth below, and discharge of the underlying debt under 11 U.S.C. §
                      1328, at which time the lien will terminate and be released by the creditor.
          Name of creditor
          Dothins
                                                            collateral
                                                            Dothins
                                                                                             Purchase date
                                                                                             Dothins
                                                                                                                              Estimated amount                 Interest rate
                                                                                                                                                               Dothins
                                                                                                                                                                                                       Monthly pre-                                                   Monthly
                                                                                                                              of claim
                                                                                                                              Dothins
                                                                                                                                                                                                       confirmation                                                   postconfirmation
                                                                                                                                                                                                       adequate                                                       payment to creditor
                                                                                                                                                                                                       protection                                                     by trustee
                                                                                                                                                                                                                                                                      Dothins




                                                                                                                                                                                                       payment
                                                                                                                                                                                                       Dothins




          Dothins                                           Dothins                          Dothins                          Dothins                          Dothins                                 Dothins                                                        Dothins




§ 3.4               Lien avoidance.
                    Check one.
                     None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.
                      The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.
                     The judicial liens and/or nonpossessory, nonpurchase money security interests securing the claims listed below impair exemptions to which the
                      debtor(s) would have been entitled under 11 U.S.C. § 522(b). Unless the Bankruptcy Court orders otherwise, a judicial lien or security interest
                      securing a claim listed below will be avoided to the extent that it impairs such exemptions upon entry of the order confirming the plan. The
                      amount of the claim secured by the judicial lien or security interest that is avoided will be treated as an unsecured claim in Part 5 to the extent
                      allowed. The amount, if any, of the claim secured by the judicial lien or security interest that is not avoided will be paid in full as a secured claim
                      under the plan to the extent allowed. See 11 U.S.C. § 522(f) and Bankruptcy Rule 4003(d). If more than one lien is to be avoided, provide the
                      information separately for each lien.
                             Information regarding judicial Calculation of lien avoidance     Dothins
                                                                                                                                                                                                                                           Treatment of remaining secured
                             lien or security interest                                                                                                                                                                                     claim
                                                                                                                                                                                                                                     Dothins




                       Dothins




                                                                                                                                                                                                                                               Amount of secured claim
                                                                                                                                                                                                                                               after avoidance (line a minus
                                           Name of creditor                                             a. Amount of lien                                                                                                                      line f)
                       Dothins             Dothins                                 Dothins   Dothins                                                                     Dothins   Dothins                       Dothins             Dothins   Dothins                                              Dothins




                       Dothins             Dothins                                 Dothins   Dothins
                                                                                                        b. Amount of all other liens                                     Dothins   Dothins                       Dothins             Dothins   Dothins                                              Dothins




                       Dothins
                                           Collateral
                                           Dothins                                 Dothins   Dothins
                                                                                                        c. Value of claimed exemptions                                   Dothins   Dothins                       Dothins             Dothins
                                                                                                                                                                                                                                               Interest rate (if applicable)
                                                                                                                                                                                                                                               Dothins                                              Dothins




                       Dothins             Dothins                                 Dothins   Dothins
                                                                                                        d.Total of adding lines a, b, and c                              Dothins   Dothins                       Dothins             Dothins   Dothins
                                                                                                                                                                                                                                                                                          %
                                                                                                                                                                                                                                                                                          Dothins   Dothins




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Debtor
Dothins
                               Nadine Marie Lillo
                               Dothins                                                                                                     Dothins
                                                                                                                                                         Case number

                                                                                                                                                                                                     Monthly payment on secured
                     Dothins             Dothins                        Dothins   Dothins
                                                                                            e.Value of debtor(s)’ interest in property     Dothins
                                                                                                                                                     -   Dothins       Dothins             Dothins
                                                                                                                                                                                                     claim
                                                                                                                                                                                                     Dothins                       Dothins




                                         Lien identification (such as
                                         judgment date, date of lien
                     Dothins
                                         recording)
                                         Dothins
                                                                        Dothins   Dothins
                                                                                            f.Subtract line e from line d                  Dothins       Dothins       Dothins             Dothins   Dothins                       Dothins




                     Dothins             Dothins                        Dothins                                                                                                            Dothins   Dothins                       Dothins




                                                                                              Extent of exemption impairment (Check applicable box):
                                                                                               Line f is equal to or greater than line a.
                     Dothins             Dothins                        Dothins                                                                                                            Dothins   Dothins                       Dothins




                                                                                                  The entire lien is avoided. (Do not complete the next column.)
                     Dothins             Dothins                        Dothins
                                                                                               Line f is less than line a.                                                                Dothins   Dothins                       Dothins




                                                                                                  A portion of the lien is avoided. (Complete the next column.)
                     Dothins             Dothins                        Dothins   Dothins                                                                                                  Dothins   Dothins                       Dothins




§ 3.5        Surrender of collateral.
             Check one.
              None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.
              The debtor(s) elect(s) to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s) request(s) that,
               upon confirmation of this plan, the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that the stay under § 1301 be
               terminated in all respects. Confirmation of the plan results in termination of such stays. Any allowed unsecured claim resulting from the
               disposition of the collateral will be treated in Part 5 below. No payments as to the collateral will be made, and all secured claims based on the
               collateral will not otherwise be treated by the plan.
                Name of Creditor                                                                                              Collateral
                                                                                                                              Dothins




                Dothins




                Dothins                                                                                                       Dothins




§ 3.6        Other Allowed Secured Claims.


             A proof of claim that is filed and allowed as a secured claim, but is not treated as a secured claim in this plan, shall be paid with interest at the rate
             of _______ %. Payments will commence as set forth in § 2.6. Notwithstanding the foregoing, the debtor(s), and any other party in interest, may:
             object to allowance of the claim; request that the Bankruptcy Court determine the value of the secured claim if modification of the claim is
             permissible and if 11 U.S.C. § 506 is applicable; or request that the Bankruptcy Court avoid the creditor's lien pursuant to 11 U.S.C. § 522(f), if
             applicable.
             If the Bankruptcy Court determines the value of the secured claim, the portion of any allowed claim that exceeds the amount of the secured claim
             will be treated as an unsecured claim under Part 5 of this plan.
             The holder of the claim will retain the lien on the property interest of the debtor(s) or the estate(s) until the earlier of:
             (a) payment of the underlying debt determined under nonbankruptcy law, or
             (b) payment of the amount of the secured claim, with interest at the rate set forth above, and discharge of the underlying debt under 11 U.S.C.§
             1328, at which time the lien will terminate and be released by the creditor.



Dothins
          Part 4:                         Dothins
                                                    Treatment of Fees and Priority Claims

§ 4.1        General.
             Trustee's fees and all allowed priority claims will be paid in full without postpetition interest. An allowed priority claim will be paid in full regardless
             of whether it is listed in § 4.4.
§ 4.2        Trustee's fees.
             Trustee's fees are governed by statute and may change during the course of the case.
§ 4.3        Attorney's fees.
             (a) The unpaid fees, expenses, and costs owed to the attorney for the debtor(s) in connection with legal representation in this case are $ 0.00
             . The allowance and payment of the fees, expenses and costs of the attorney for the debtor(s) are governed by General Order 22-2017 (“Chapter
             13 Attorney's Fees Order”), as it may be amended.
             (b) Upon confirmation of the plan, the unpaid amount shall be allowed as an administrative expense under 11 U.S.C. § 503(b) to the extent set
             forth in the Chapter 13 Attorney's Fees Order.
             (c) The Bankruptcy Court may allow additional fees, expenses, and costs to the attorney for debtor(s) in excess of the amount shown in § 4.3(a)
             above upon application of the attorney in compliance with the Chapter 13 Attorney's Fees Order and after notice and a hearing.
             (d) From the first disbursement after confirmation, the attorney will receive payment under § 2.6(b)(1) up to the allowed amount set forth in §
             4.3(a).

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Debtor
Dothins
                      Nadine Marie Lillo
                      Dothins                                                                          Dothins
                                                                                                                 Case number
             (e) The unpaid balance and any additional amounts allowed under § 4.3(c) will be payable (1) at $           per month from Regular Payments and
             (2) from Tax Refunds or Additional Payments, as set forth in § 2.6, until all allowed amounts are paid in full.
             (f) If the case is converted to Chapter 7 before confirmation of the plan, the debtor(s) direct(s) the trustee to pay to the attorney for the debtor(s)
             the amount of $ 3,500.00         , not to exceed the maximum amount that the Chapter 13 Attorney's Fees Order permits. If the attorney for the
             debtor(s) has complied with the applicable provisions of the Chapter 13 Attorney's Fees Order, the trustee will deliver, from the funds available, the
             stated amount or the maximum amount to the attorney, whichever is less.
             (g) If the case is dismissed before confirmation of the plan, fees, expenses, and costs of the attorney for the debtor(s) in the amount of $     ,
             not to exceed the maximum amount that the Chapter 13 Attorney's Fees Order permits, will be allowed to the extent set forth in the Chapter 13
             Attorney's Fees Order. The attorney may file an application for fees, expenses, and costs in excess of the maximum amount within 14 days from
             entry of the order of dismissal. If the attorney for the debtor(s) has complied with the applicable provisions of the Chapter 13 Attorney's Fees
             Order, the trustee will deliver, from the funds available, the allowed amount to the attorney.
             (h) If the case is converted to Chapter 7 after confirmation of the plan, the debtor(s) direct(s) the trustee to deliver to the attorney for the debtor(s),
             from the funds available, any allowed fees, expenses, and costs that are unpaid.
             (i) If the case is dismissed after confirmation of the plan, the trustee will pay to the attorney for the debtor(s), from the funds available, any allowed
             fees, expenses, and costs that are unpaid.
§ 4.4        Priority claims other than attorney's fees.
              None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.
             (a) Check one.
              The debtor(s) has/have no domestic support obligations. If this box is checked, the rest of § 4.4(a) need not be completed or reproduced.
              The debtor(s) has/have domestic support obligations as set forth below. The debtor(s) is/are required to pay all post-petition domestic support
               obligations directly to the holder of the claim.
                Name and address of creditor: Name and address of child
                Dothins
                                                                                            Estimated amount of claim
                                                                                            Dothins
                                                                                                                                Monthly plan payment
                                                                                                                                Dothins




                                              support enforcement agency
                                              entitled to § 1302(d)(1) notice
                                                             Dothins




                Dothins                                      Dothins                        Dothins                             Dothins




             (b) The debtor(s) has/have priority claims other than attorney's fees and domestic support obligations as set forth below:

                Name and address of creditor:                                               Estimated amount of claim
                                                                                            Dothins




                Dothins




                Dothins                                                                     Dothins




Dothins
          Part 5:               Dothins
                                          Treatment of Nonpriority Unsecured Claims

§ 5.1        Nonpriority unsecured claims not separately classified.
             Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata, as set forth in § 2.6. Holders of these claims will
             receive:
             Check one.
              A pro rata portion of the funds remaining after disbursements have been made to all other creditors provided for in this plan.
              A pro rata portion of the larger of (1) the sum of $              and (2) the funds remaining after disbursements have been made to all other creditors
               provided for in this plan.
              The larger of (1)       % of the allowed amount of the claim and (2) a pro rata portion of the funds remaining after disbursements have been
               made to all other creditors provided for in this plan.
              100% of the total amount of these claims
             Unless the plan provides to pay 100% of these claims, the actual amount that a holder receives will depend on (1) the amount of claims filed and
             allowed and (2) the amounts necessary to pay secured claims under Part 3 and trustee's fees, costs, and expenses of the attorney for the
             debtor(s), and other priority claims under Part 4.
§ 5.2        Maintenance of payments and cure of any default on nonpriority unsecured claims.
             Check one.
              None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.
              The debtor(s) will maintain the contractual installment payments and cure any default in payments on the unsecured claims listed below on
               which the last payment is due after the final plan payment. These payments will be disbursed directly by the debtor(s). The claim for the
               arrearage amount will be paid in full as specified below and disbursed by the trustee.
                Name of creditor                                       Estimated amount of arrearage
                                                                       Dothins
                                                                                                                      Monthly plan payment on arrearage
                                                                                                                      Dothins




                Dothins




                Dothins                                                Dothins                                        Dothins




§ 5.3        Other separately classified nonpriority unsecured claims.

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                                                                                                                                                                                     Dothins




Debtor
Dothins
                              Nadine Marie Lillo
                              Dothins                                                                                                       Dothins
                                                                                                                                                       Case number
             Check one.
              None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.
              The nonpriority unsecured allowed claims listed below are separately classified. Each claim will receive pro rata payments as set forth in § 2.6.
               The unpaid balance will be paid in full, including interest at the rate stated below, if applicable.
                        Name of creditor
                        Dothins
                                                                       Basis for separate classification
                                                                       Dothins
                                                                                                                            Estimated amount of                            Interest rate (if applicable)
                                                                                                                                                                           Dothins




                                                                                                                            claim
                                                                                                                            Dothins




                        Dothins                                        Dothins                                              Dothins                                        Dothins




Dothins
          Part 6:                       Dothins
                                                  Executory Contracts and Unexpired Leases

§ 6.1        The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts
             and unexpired leases are rejected.
             Check one.
              None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.
              Assumed items. Current installment payments will be disbursed directly by the debtor(s). Arrearage payments will be disbursed by the
               trustee. The final column includes only payments disbursed by the trustee rather than by the debtor(s).
                        Name of creditor
                        Dothins
                                                                       Description of leased property Estimated amount of                                                  Monthly postconfirmation payment to
                                                                       or executory contract          arrearage   Dothins
                                                                                                                                                                           cure arrearage
                                                                                                                                                                           Dothins




                                                                       Dothins

                                                                                                                  Dothins                                                  Dothins




                        Nicole French-Owens
                        Dothins
                                                                       Residence
                                                                       Dothins




Dothins
          Part 7:                       Dothins
                                                  Vesting of Property of the Estate

§ 7.1        Unless the Bankruptcy Court orders otherwise, property of the estate shall not vest in the debtor(s) on confirmation but will vest in the
             debtor(s) only upon: (1) discharge of the debtor(s); (2) dismissal of the case; or (3) closing of the case without a discharge upon the
             completion of payments by the debtor(s).

Dothins
          Part 8:                       Dothins
                                                  Nonstandard Plan Provisions

§ 8.1        Check “None” or list Nonstandard Plan Provisions.
              None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.
             Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in
             this N.D. Ga. Chapter 13 Plan Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.
             The following plan provisions will be effective only if there is a check in the box “Included” in § 1.3. (Insert additional lines if needed.)

              Dothins




Dothins
          Part 9:                       Dothins
                                                  Signatures

§ 9.1        Signatures of Debtor(s) and Attorney for Debtor(s).
             The debtor(s) must sign below. The attorney for the debtor(s), if any, must sign below.                                  Dothins




              s/Nadine Marie Lillo
              Dothins                                                                                   Dothins
                                                                                                                                                                                                              Dothins




              Signature of debtor 1 executed on
              Dothins
                                                                                 06/18/2019
                                                                                 Dothins                Dothins
                                                                                                                                      Signature of debtor 2 executed on
                                                                                                                                      Dothins




                                                                                 MM / DD / YYYY                                                                                                              MM / DD / YYYY
                                                                                                                                      Dothins




              6990 Polo Fields Parkway
              Dothins
                                                                        Cumming,Georgia 30040           Dothins




              Address
              Dothins
                                                                   City, State, ZIP code                Dothins
                                                                                                                                      Address
                                                                                                                                      Dothins
                                                                                                                                                                                               City, State, ZIP code


              s//s/ A. Keith Logue                                                                      Dothins
                                                                                                                                                      Date:   06/18/2019
              Dothins                                                                                                                                         Dothins




              Signature of attorney for debtor(s)                                                                                                             MM / DD / YYYY

              Logue Law, PC
              Dothins                                                                                   Dothins
                                                                                                                                      3423 Weymouth Court
                                                                                                                                      Dothins
                                                                                                                                                                                               Marietta,Georgia 30062
              Firm
              Dothins                                                                                   Dothins
                                                                                                                                      Address
                                                                                                                                      Dothins
                                                                                                                                                                                               City, State, ZIP code




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                                                                                                               Dothins




Debtor
Dothins
           Nadine Marie Lillo
           Dothins                                                                     Dothins
                                                                                                 Case number
By filing this document, the debtor(s), if not represented by an attorney, or the attorney for debtor(s) also certify(ies) that the wording and order
of the provisions in this Chapter 13 Plan are identical to those contained in the Local Form for Chapter 13 Plans that the Bankruptcy Court for
the Northern District of Georgia has prescribed, other than any nonstandard provisions included in Part 8.




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